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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                    NEW HAVEN DIVISION

In re                                   :                        Chapter 11
                                        :
CLINTON NURSERIES, INC.,                :                        Case No. 17-31897(AMN)
CLINTON NURSERIES OF MARYLAND, INC., :                           Case No. 17-31898(AMN)
CLINTON NURSERIES OF FLORIDA, INC., and :                        Case No. 17-31899(AMN)
TRIEM LLC,                              :                        Case No. 17-31900(AMN)
                                        :                        Jointly Administered under
                      Debtors.          :                        Case No. 17-31897 (AMN)

                   ORDER DIRECTING JOINT ADMINISTRATION OF CASES
                         PURSUANT TO FED. R. BANKR. P. 1015(b)

          THIS MATTER came before the Court upon the Motion of Clinton Nurseries, Inc. (“CNI”),

Clinton Nurseries of Maryland, Inc. (“CMI”), Clinton Nurseries of Florida, Inc. (“CFI”), and Triem

LLC (together with CNI, CMI and CFI, collectively, the “Debtors”), as debtors and debtors-in-

possession, for an order administratively consolidating their Chapter 11 cases for procedural

purposes only pursuant to Fed. R. Bankr. P. Rule 1015(b) (the “Motion”), and it appearing that joint

administration of these Chapter 11 cases is in the best interests of the Debtors, their respective

estates and creditors; and notice having been given to the United States Trustee for the District of

Connecticut; and it appearing that due and appropriate notice has been given under the

circumstances of these cases and that such notice is sufficient; and sufficient cause appearing

therefore, it is

        ORDERED that the Motion be, and it hereby is, granted as set forth herein; and it is further

          ORDERED that the above-captioned cases be, and they hereby are, consolidated for

procedural purposes only and shall be jointly administered by the Court; and it is further




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        ORDERED the caption in these Chapter 11 cases shall hereafter be:

                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                     NEW HAVEN DIVISION

In re                                   :                        Chapter 11
                                        :
CLINTON NURSERIES, INC.,                :                        Case No. 17-31897(AMN)
CLINTON NURSERIES OF MARYLAND, INC., :                           Case No. 17-31898(AMN)
CLINTON NURSERIES OF FLORIDA, INC., and :                        Case No. 17-31899(AMN)
TRIEM LLC,                              :                        Case No. 17-31900(AMN)
                                        :                        Jointly Administered under
                      Debtors.          :                        Case No. 17-31897 (AMN)

and it is further

        ORDERED that a docket entry shall be made in each of the above-captioned cases of CMI,

CFI and Triem substantially as follows:

                    “An order has been entered in this case directing the procedural
                    consolidation and joint administration of the Chapter 11 cases of
                    Clinton Nurseries, Inc. and its affiliate and the docket and case
                    number 17-31897 should be consulted for all matters affecting this
                    case."

and it is further

        ORDERED that nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of the above-captioned cases.

                               Dated this 21st day of December, 2017, at New Haven, Connecticut.




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